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                     UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


                                              NO. 08-20633-2
                                              HON.PATRICK J. DUGGAN
UNITED STATES OF AMERICA,

                   Plaintiff(s),

vs.

LUTHER GILFORD,

                   Defendant(s).
                                          /

         ORDER GRANTING MOTION TO APPOINT NEW COUNSEL

                   At a session of said Court, held in the U.S.
                   District Courthouse, City of Detroit, County
                   of Wayne, State of Michigan on July 14, 2009.


      This matter is before the Court on Motion to Appoint new counsel for

Defendant. For the reasons stated on the record this date;

      IT IS ORDERED that the Motion to Appoint new counsel for Defendant

be and the same is hereby GRANTED.

      IT IS FURTHER ORDERED that Virginia Davidson is appointed to

represent the defendant in this matter.


                           s/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: July 14, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of
record on July 15, 2009, by electronic and/or ordinary mail.
                           s/Marilyn Orem
                           Case Manager
